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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION

LILI GENG, M.D.                                                              PLAINTIFF


v.                                            CIVIL ACTION NO.: 2:20-cv-2818 -JPM-tmp


UT MEDICAL GROUP, INC. d/b/a
UNIVERSITY CLINICAL HEALTH                                                 DEFENDANT


     PLAINTIFF’S MOTION TO EXTEND EXPERT DESIGNATION DEADLINES AND
                    THE COMPLETION OF ALL DISCOVERY

        Plaintiff, LILI GENG, M.D., by and through the undersigned counsel, moves the Court,

for a 33 day extension of Plaintiff’s Disclosure information pursuant to Rule 26(a)(2) that is

currently set for August 27, 2021. Plaintiff seeks to extend Plaintiff’s expert designation deadline

to September 29, 2021, and Defendant’s Disclosure of Rule 26(a)(2) to October 29, 2021.

Therefore moving the date to complete all discovery to October 29, 2021. Plaintiff proposes the

ability to take expert depositions, only, following the deadlines for any dispositive motion and

response. Plaintiff proposes that the expert depositions be taken outside of the discovery deadline

so as leave the all other dates in place. Plaintiff does not wish to move the trial date or any other

dates in the Amended Scheduling Order (Doc 37). Plaintiff provides the Court with the following

facts and status to establish good cause for the requested relief:

        1.     This case was initially filed on November 12, 2020 (Doc 1).

        2.     A Scheduling Conference was held on January 14, 2021, where Attorney Kristy L.

Bennett appeared for the Plaintiff and Whitney Dowdy appeared for the Defendant. (Doc. 18).

        3.     The Scheduling Order was entered on January 14, 2021. (Doc. 18).

        4.     The trial in this matter was set for January 10, 2022. (Doc. 18).

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        5.      The Scheduling Order required FRCP 26(a)(1) Initial Disclosures to be served on

February 12, 2021. (Doc. 18).

        6.      The Parties exchanged some initial disclosures on February 12, 2021.

        7.      Plaintiff was notified on May 27, 2021 that the Defendant had located the slides

that are at issue in the Plaintiff’s termination.

        8.      Plaintiff filed a Motion to Amend the Scheduling Order and Reset the Trial Date

(Doc 27) due to the lack of information related to the misdiagnoses alleged as part of the legitimate

non-discriminatory reason for Plaintiff’s termination.

        9.      A hearing on Plaintiff’s motion was held on July 23, 2021.

        10.     During the hearing, the Court reset deadlines and ordered the Defendant to produce

documents and slides to the Plaintiff by no later than July 29, 2021.

        11.     On July 29, 2021, Defendant provided the slides and some documents related to the

misdiagnoses, but did not provide either a physical copy or electronic copy of the complete medical

records concerning the missed diagnoses, contending it produced all pathology reports in its

possession related to said misdiagnoses.

        12.     The Court indicated during the hearing that should additional time be necessary to

meet the expert designation deadlines to notify the Court.

        13.     Plaintiff has been unable to secure an expert that is willing to meet the current

expert designation deadline.

        14.     The deadline for disclosure of Rule 26(a)(2) experts in the Scheduling Order are

August 27, 2021, for Plaintiff and September 24, 2021, for Defendant.

        15.     The Parties are on track to timely produce written discovery and have scheduled

party depositions.



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        16.       Plaintiff files this motion regarding the expert designation deadlines, only, seeking

a five-week extension for the Parties’ Rule 26(a)(2) designation deadline.

        17.       After a most diligent search, Plaintiff has been consistently told by experts that the

timeline is too tight for review and draft of the expert report within the current time frame provided

in the currente Amended Scheduling Order (Doc 37).

        18.       The 33 day extension would allow Plaintiff’s expert to review this matter and make

a written report.

        19.       The extension would set Plaintiff’s 26(a)(2) designation deadline September 29,

2021, and Defendant’s 26(a)(2) designation deadline on October 29, 2021.

        20.       The current deadline for all discovery in this matter is Oct, 22, 2021. (Doc 37).

        21.       Plaintiff requests that the deadline for completion of all discovery, aside from

expert depositions, be set on October 29, 2021.

        22.       Plaintiff does not make this request for the purpose of delay and the time this matter

is taking is unavoidable.

        23.       The Parties have acted in good faith.

        24.       Plaintiff believes that the discovery limitations and deadlines delineated in the

current Scheduling Order as to the experts in this matter are not sufficient for the issues involved

in this action.

        25.       Plaintiff in this matter requests that all outstanding deadlines set forth in the current

Amended Scheduling Order remain the same, except for the close of discovery, if necessary, and

the parties’ expert designations.




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       26.     The Plaintiff’s justification for keeping all outstanding dates the same if the

designated experts are not deposed but are only called live at trial or depositions could be taken

outside of the discovery deadline.

       27.     The Plaintiff believes the experts are not necessary for Rule 56 Depositive Motions

because battling experts are fact questions for the jury.

       28.     Plaintiff reached out to opposing counsel at the time of the filing of this motion and

Defendant does not yet have a position as to this motion.

       29.     Plaintiff files this motion as timely as possible after diligently attempting to make

the current deadlines.

       30.     Plaintiff believes this motion is sufficient on its face without the necessity of

supporting memorandum and asks to be relieved of submitting same.

       WHEREFORE PREMISES CONSIDERED, upon good faith belief and facts shown that

Plaintiff has established good cause for this Court to grant this Motion to Extend Expert Witness

Disclosures Pursuant to Fed. R. Civ. P. 26 (a)(2) and the completion of all discovery.

       This, the 13th day of August, 2021.



                                              Respectfully submitted,

                                              Lili Geng, M.D.

                                              /s/ Kristy L. Bennett___
                                              Kristy L. Bennett BPR #30016
                                              Tressa V. Johnson BPR #26401
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                           CERTIFICATE OF CONSULTATION


       The undersigned, as counsel for the Plaintiff reached Defendant’s counsel regarding the

filing of the Plaintiff’s Motion To Extend Expert Designation Deadlines And The Completion Of

All Discovery, and the Defendant does not have positions as to the requested relief.

       This the 13th day of August, 2021.

                                                                   /s/ Kristy L. Bennett
                                                                   Kristy L. Bennett




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                                CERTIFICATE OF SERVICE


       I, Tressa V. Johnson, one of the attorneys for the Plaintiff, do hereby certify that I have

this day served via ECF filing, email, or by United States mail, postage prepaid, a true and

correct copy of the above and foregoing document to the following counsel of record:

Whitney M. Dowdy
Shayna A. Giles
Baker, Donelson, Bearman, Caldwell & Berkowitz
165 Madison Avenue, Suite 2000
Memphis, TN 38103


       THIS the 13th day of August, 2021.




                                                                     /s/ Kristy L. Bennett
                                                                       Kristy L. Bennett




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